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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF Al\/[ERICA, SUPERSEDING INDICTMENT

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OO‘-JO\MLUJNHCD\DOO`~JO\U'\-PUJ[\.)|_‘O

Plaintiff,
vs.

MORGAN MOSES SAMPSON,
ARTI-IUR LEE MILLER,
JEROME TOM MOSES, and
ADAN ROBERTO CORTES,

Defendants.

 

 

The Grand Jury charges:

1:14-CR-2033-FVS

Ct. 1: 18 U.S.C. §§ 113(a)(6), 1153
& 2 (Assault Resulting in Serious
Bodily Injury and Aiding and
Abetting)

Ct. 2: 18 U.S.C. §§ 924(0)(1)(A) & 2
(Discharge of a Firearm During a
Crime of Violence and Aiding and
Abetting)

Ct. 3: 18 U.S.C. §§ 113(a)(6), 1152
& 2 (Assault Resulting in Serious
Bodily Injury and Aiding and
Abetting)

Ct. 4: 18 U.S.C. §§ 924(0)(1)(A) & 2
(Discharge of a Firearm During a
Crime of Violence and Aiding and
Abetting)

COUNT ONE

On or about March 21, 2014, in the Eastern District of Washington, Within

INDICTMENT

the external boundaries of the Yakama Nation lndian Reservation, and on trust

 

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land, defendants, MORGAN l\/[OSES SAMPSON, ARTHUR LEE l\/HLLER, and
JEROME TOM MOSES, lndians, did knowingly assault L.T., resulting in serious
bodily injury and did aid and abet the same; all in Violation of Title 18, United
States Code, Sections 1153; 113(a)(6); and 2.
COUNT TWO

On or about March 21, 2014, in the Eastern District of Washington, within
the external boundaries of the Yakania Nation Indian Reservation, and on trust
land, the defendants, MORGAN MOSES SAMPSON, ARTHUR LEE MILLER,
and JEROME TOl\/I MOSES, Indians, did knowingly use, carry, brandish, and
discharge a firearm during and in relation to, and possess in furtherance of, crimes
of Violence for which MORGAN MOSES SAMPSON, ARTHUR LEE MILLER,
and JEROME TOM MOSES may be prosecuted in a court of the United States,
that is: Assault Resulting in Serious Bodily Injury, as charged in Count One; and
did aid and abet the same; all in violation of Title 18, United States Code, Sections
924(0)(1)(A) and (iii); and 2.

COUNT Tl-[REE

On or about March 21, 2014, in the Eastern District of Washington, within

the external boundaries of the Yakama Nation Indian Reservation, and on trust

land, defendant, ADAN ROBERTO CORTES, a non~lndian, did knowingly assault

INDlCTMENT 2

 

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L.T., an Indian, resulting in serious bodily injury and did aid and abet the same; all
in violation of Title 18, United States Code, Sections 1152; 113(a)(6); and 2.
COUNT FOUR

On or about March 21, 2014, in the Eastern District of Washington, Within
the external boundaries of the Yakama Nation Indian Reservation, and on trust
land, the defendant, ADAN ROBERTO CORTES, a non~lndian, did knowingly
use, carry, brandish, and discharge a firearm during and in relation to, and possess
in furtherance of, crimes of violence for which ADAN ROBERTO CORTES may
be prosecuted in a court of the United States, that is: Assault Resulting in Serious
Bodily Injury, as charged in Count Three; and did aid and abet the same; all in

violation of Title 18, United States Code, Sections 924(0)(1)(A) and (iii); and 2.

DATED: MAY 13, 2014

 

l\/IICHAEL C. ORMSBY
mite ates Attorney

WN N. ANDERSON
As istant Unite States ttorney

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HOMAS J. HANLON
Assistant United States Attorney

INDICTMENT 3

 

